 Case 3:22-cv-00730-K Document 1-1 Filed 03/30/22              Page 1 of 52 PageID 6



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

KIMBERLY M. SHELTON,                         §
                                             §
                   Plaintiff,                §
v.                                           §        CIVIL ACTION NO. 3:22-cv-00730
                                             §
CITIBANK, N.A.                               §
                                             §
                   Defendant.                §


                                       APPENDIX

     Reference        Document Name

     Exhibit A        Index of State Court Action Documents

     Exhibit B        Documents Filed in State Court Action

     Exhibit B-1      Plaintiff’s Original Petition

     Exhibit B-2      Citation issued to Defendant Citibank, N.A.

     Exhibit B-3      Return of Service

     Exhibit B-4      Defendant Citibank, N.A.’s Original Answer

     Exhibit C        Certificate of Interested Persons
Case 3:22-cv-00730-K Document 1-1 Filed 03/30/22   Page 2 of 52 PageID 7




                     EXHIBIT “A”
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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

KIMBERLY M. SHELTON,                          §
                                              §
                 Plaintiff,                   §
v.                                            §        CIVIL ACTION NO. 3:22-cv-00730
                                              §
CITIBANK, N.A.                                §
                                              §
                 Defendant.                   §


              INDEX OF STATE COURT ACTION DOCUMENTS

     Date Filed in State      Document Name
     Court Action

     February 8, 2022         Plaintiff’s Original Petition

     February 8, 2022         Citation issued to Defendant Citibank, N.A.

     March 7, 2022            Return of Service

     March 15, 2022           Defendant Citibank, N.A.’s Original Answer
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                     EXHIBIT “B”
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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

KIMBERLY M. SHELTON,                     §
                                         §
                 Plaintiff,              §
v.                                       §        CIVIL ACTION NO. 3:22-cv-00730
                                         §
CITIBANK, N.A.                           §
                                         §
                 Defendant.              §


               DOCUMENTS FILED IN STATE COURT ACTION

Reference     Date Filed in State   Document Name
              Court Action

Exhibit B-1   February 8, 2022      Plaintiff’s Original Petition

Exhibit B-2   February 8, 2022      Citation issued to Defendant Citibank, N.A.

Exhibit B-3   March 7, 2022         Return of Service

Exhibit B-4   March 15, 2022        Defendant Citibank, N.A.’s Original Answer
Case 3:22-cv-00730-K Document 1-1 Filed 03/30/22   Page 6 of 52 PageID 11




                   EXHIBIT “B-1”
     Case 3:22-cv-00730-K Document 1-1 Filed 03/30/22                                 Page 7 of 52 PageID 12

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        comma               Na.
                                                                          DALLAS COUNTY, TEXAS
                 . Defendant.
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        TO THE HONORABLE:
                        ETUDGE                   OF SAID COURT:

                coms          NOW,      Plsinift KIMBERLY M              ‘SHELTON tener. roférred LJ as

      | “Pliatit?) and files this: Original Petition against Defendant CITIBANK; NA,             (hereinafter .

        refered to as“Defendant,bi repestlly shows hie Court the following:


                                       DISCOVERY CONTROL FLAN LEVEL

oe      L-      Plant résérvess the ol ght to’ petition this’ Court to engage in pris discovery plirsusst to
                         ct


        Rule 500. 9 of the Texas Rules: of Civil Prbgedure.




      . 2. Plainift iis an individia who resides. in’ Dallas. County,           ok
                  “   SI      ey


     . adesigned. oitisel, LE                                |

              Blair is a “person” as defied by 4 U. S: C: § 15339).

        4,    Blin         is’ a “Constmer”as“meaning
                                              +
                                                      Plant is.a natural person: who} is allegedly obligated

      " “to pay any debt,                                                        on

       8, |   The Copsumer Debt is an, obligationor lloged obligation ofo the Plaintiff to pay any money

      . aising outofa transaction in
                                  i which the) money, property, or services, which aree the, subject of the
Case 3:22-cv-00730-K Document 1-1 Filed 03/30/22                                       Page 8 of 52 PageID 13




   transagtion are’ primarily for persons) fail                or household pusposes..
                                                                            py

   5     Defendant is a “pst "as defined ‘by 47 U. S « § 15369).
                                                     EN   ES

                                fotgh its get S," mployes; officer, peter, volunieers, staffers,

   irc, Hei, successors, assigns, principals; rustess, shreties; subtogees representatives, and

    insurers;"   all times woes       El
                                           to he instant actioti.
                                                                    .    3   i    In




 8. Defendant, Cian A may! be, served with; progess trong at itss offices located at 800 S.

    Corporate Piace; Sioux Falls, sp 57 104.                                                             |

  : 9.    ‘Defendant isaa dt collet as definedaniler Tex. Fin. Code Atal -§ 392. 0                   because

   Defendant has engaged in direct or indirect ache collection against the. Plaintiff in Tosa


                 -            3 i JURISDICTION AND VENTE




   12 ve in-\ Dallas cou, Texas iis ropes iiis ciiuseo pursuant to. Section 15. 002 of the



  omissions giving rise to this lawsuit occurred in’Dallas County, Texas,
                                Fou



                          .                  FACTUAL ALLEGATION 5                          Co

  11     Plaintift incorporates b referbnce all: of the above pacaphs of this Petition as though

   filly stated herein with the same: force and effect ds; if the same ‘Were set forth atlength herein

   7)    At a ties relevant to the instant action, Plante was, he sibssrbes owner, and operator

   of the- celtilar phoné ening in 0281. Plaintit is aid always has, been sicily responsible for
 Case 3:22-cv-00730-K Document 1-1 Filed 03/30/22                                    Page 9 of 52 PageID 14




     - 8. cellular phone andits services:
     Ee 1B. “Defendait fnew Plain is phone niimber was # a collider telephone smber. before
                                                                                    Loa
  i" Defendant called Plains phone number,

  .      4. At all’ Yisties Hlovarit to the instant ston Plaintiff's work lone number was the phone

         umber ending in 3305. Ry             ra        N } oe           ;

         15.    Defendant Kiiow Plaintiff S photic: number, was a’ work telephone} ‘umber before Defendant

 ro     called Plaintifs [5 work phone umber.

         16 At all tires relevant to the instant action, Plaintiff and her husband ‘were the. sibscrivers,

         owners; re operators of the tani’ phori ening i “1697. Plante and her husband are and

      ) always. have been financially response’ for the landline phono wil it'sservices.

         Bb.   Defendant Jndwr Plait? s landline pie miber was’ a laidline telephone number before

Co Defendant called Plaintifr's phone nuinber.

N 3 18 Bling s landline phone mimber is
                                     is on th National Do Not Cat Registry.

        1. ) on or. abou January 36; 2021, Plaitif sént. a letter to Defendant about :an Accourit with

        Defendat. Aone’, attached. as                Bait A          requesting   an. investigation of the above
                                                        He

      ’ stated account, as well as the information being. reported to credit reporing agencies, yogarding the:

 i dccotnt: ‘Plaintift informed Defendant’ she had filed dispute letters
                                                                 I       to ie eredit Bureaus Laat Plaintiff           .

     ~ y did not upderstand why the Acco int was abruptly’ closed,

        20.    ‘on of about. February 1, 2021, Defendant responded: 16. Plaiitiff stating sic “records

 .      indicéte that your aceoiint was élosed on      0819
                                                         19/2030, because fails           the card reissue criteria.

       The ‘adcount- 4s-in failed reissue die to late, paymerts going over the credit line or related

       ) accounts ‘which’ are not. in» compliance with] the terms, & conditions of the citi bank card

      * agreement.” See copy of Lette dated Febriaty 1; 2021 attached as Exhibit B.B
Case 3:22-cv-00730-K Document 1-1 Filed 03/30/22                              Page 10 of 52 PageID 15




   | 2l..      On or:about Jul§:29, 2021,
                                     2    Defendant informed Plaintiff the balatice on the Account was

 4 : $4; 223. 22: See copy of Lette er received Rly, 29, 2021 aiached: ‘as Exhibit
                                                                            Exhibit C.

     2,     On or: about August 2, 2021, ‘Defendant responded to Plaiitiffs account request to update

                    ¢ her erodit report and Defendant verified that the filorimticn was correct.
     he information on

     See copy of Letir received attached as Exit D. .Cs “                    CT          ~   I

    3 23. Plaintiff Vogt} feceivi          als from Defendant demanding full payment. of the Account’s

    alleged balance. -

     A.       Plaitiff demanded Defendant to cease al calls ina
                                                            § Totter received by. Defendant on July

     9 2020. See copy of Leer sent Ens 5, 2021 atached ass Exhibit E

    25 ‘Defendant ignored Plaintiffs Tequest, and diptiliod collection. efforts for the Aseput.

    ES       Defends caliéd Pain at feast 21 times between Hy 10, 2021 and July 19, 2021,

    including tres calls’ to seS ok, See screenshots of caljog                 ached ass ‘ExhibitF.



   | Plintis tans were ma

| an dae.
   2%       © on. of£ shotit July 9; 20    11

  ’ a, 247 pm and 5:51 pm.
  4»        To or: aboi July 10, 20       2, Defendant called from 1-877-281-0416 four (4) tines at 8:09
    am,J 10: 36, am, 12: 50 mand 3:

  ) 30. On or about Tuy: 11, ik Defendant called Sond 1-87-28 1-046 fou @ times at 8: 21

 "am, 1036 am, 12: 29 pri and 2: 55pm.
    3:      Onor about Tuly: 12, 2021, Defendant called from 1- 877-281-0416 three ®t times at 10:30

    am, 5; 29 pm wind 8: 34pm.
         Case 3:22-cv-00730-K Document 1-1 Filed 03/30/22                         Page 11 of 52 PageID 16




               5       On or about uly 13 2021,
                                          2     Defendant called ‘from: ik 505. 637-7243 at$: 30am and lefta

               v ) icemail Defendant called rom 1.877.381.0416 two oF:times at2: 97 pm and. 6: 08: pm.

              3=. } “On orabout duly fa, 2001, Defendant called from Ir 577.281.0416 threo oF times at t8: 01 g

              "am,240 pn od 0pm.                   | Lo                   Co             }
                34. Onc or’abot uly 15,2021, Defendnt called from 1- §77-281-0416 three 3) tines at 8:01

              am, , 2:56 pm and 6: 06 pm, =

               35, .On’ ot ‘abortJoly 16, 201mDefendant oad from: 18772810416 one: ) time at 8:07



               %    ono or,: soi Tuly 17, 2021, Defendant called from 1-877-281- 0416 ¢one fo time at.8: 02
             oam, at PlasterTa plecansof wo
                                         v becass Wiel                    ©




h   he        -am at PlaitifF’s) lic of work and Ie voigerail.

             : 5, ' Defendant used an an inated phone ailing systemto call Plaati?s celle, landline

             oy and work telephoaés;ollckively ¢ “Phos y:

              =     | Defendant occasionally eda‘a preresort ddmessages when calling PlaintifPs Phones.

                     The automated iphone dialing system used to call Defendant Bas the capacity to store

         .     telephone uimbers.

              2      The, atomaiedphone di ingg system) sd to call Defendant has the capeciiy to call or
                                    8

                                                         we FE   “a   i

                                                        owt



              43.    The leptons dialer system Defendant used to call Plaintiff ] Phones has the capacity to
                                                                                                  @

              gall ‘orr tekt stored telephone Bumbers witht human intervention.
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Case 3:22-cv-00730-K Document 1-1 Filed 03/30/22                                      Page 12 of 52 PageID 17




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   44.     “The lephone dialer system Defendant used to call Plaintif's: hones has the Sppetiy to
                                                                         tahoe   AF
                                                                                 nd

  :, call telephone simbers in sequential order,
 as       The telephone dialer system. Defendant used. to call Pla

  3 cll telephons bird randomly.

 i 46,    “The telephone disler system Defendant used to all Plainsie s Phones selects telephone

   muinbers to be. called. according to a: protochl orstrategy cnteredl               Deferidant
                       dt”       pre
 > a. The ielep                  ¢ der   ystem Deferdast oni to Plaintiffs[3 Phonics simultanionsly calls or

   texis imliple persons.

i. 48 The slaming volume of cals by! Deféndant igevidence of inent to hafass Plsintify.

 i! i                                              at e of theopto ons.
          * Planift fel roitened fiom he volume andns
                                                     EA




   PlaintifF S: Phos         :

 0 battery chirge; loss it concen; menial anguish snes                           thecpritowat clcicty costs

  required to,:rechinge Plait ’S éliuar telephone as: a, result of: increased usage off PlanifF's 5

: tones servic           and’ wasting Pia        fiEFs time.

os)      Me rsover, cach time Defondinit Placed atelephone, all to. Pla iff Defendant occupied

  "54.   Plaintiff's Phones such that Plaintiff was unable to’ ‘Teceive other phone calls or ‘otherwise -

   uilize her Phones while her Phonos were ringing.
                                                      P-
Case 3:22-cv-00730-K Document 1-1 Filed 03/30/22                                    Page 13 of 52 PageID 18




                                    Viola ons of the Te pho ¢ Consmmer Protection
                                                                        P         Act
                                              USCS                   ase)
          5.    All paragraphs of this Coys ares expressly adopted and incorporated herein as though

          fully set forth herein.    Lo

          56.   The TCPA defines ATDS as ~eqipment which has the capacity—(4) to store or produce

         telephone numbers to be called using a random or sequential number generator; and (B) to dial

+         such numbers, ” 47U.S.C. § 276),

          57.   Upon information and belief the system used by Defendant to place calls to Plaintiff has the

          capacity to1 use a random or sequential number generator to determine the order iin which to pick

         phone mmbers from a preloaded Bist of mimbers of consuriers that are allégedly in default on
                                          3
                                          i

         their payments.

         58.    Accordingly, the syst employed by: Defeiidant has. the capacity, — @ to store or produce

         telephone nunibets to’ be called, using ;a randois or Sequential mumber generator; and” ®B) to dial

         such: numbers.         I             |

    v    59,    Defendant violated 47 u. S.C. § 27 (AA)          Gi) ): by placing no folly ‘than 27 non- emergency

        calls, including but not¢ limited to the: aforementioned to Plaintiff's ‘Phones, wiizig an ATDS

         without Plaintiff’s. consent

         60. Aspled above, Plaintiff evoked consent tobe called/texted on ther Phones in-a letter received

         by Defendant on Tul7 9, 2000,—             as Exhibit: E,

         6L.    As pled above, Plaintiff sas severely harmed by Defendant’s collection-calls to her Phones.

        62.     Upon infortnation and bt,         Dein has no system in plice to ‘document whether it has

         consent to contact consumer on their selighanes, .          |

         63.    Upon information and belie, Defendant has no policies and procedures in place to
Case 3:22-cv-00730-K Document 1-1 Filed 03/30/22                              Page 14 of 52 PageID 19




      honor, corisumgrs’? requests that collection. eplls cease, 3
                                                                  SL



     64% * Upon; information and belief, Defendant fnew its collection) practices vieated the TCPA,

     : yet continued to employ then ini 1 cde 1 maximize scene and’ révepie..

      665. As a result of Defendan 's Siolatonsiof 47. U. S. c.27D,                     Plaintiff isi entitled to

       receive $500. 00 in dainages for nile violation.
                                                                       a, _


      gh Af a resul of Defendant's? skoving and willful violations of 47°USS. C. $2277 G)L)AXG),

     ! Plains is. rifled to receive up to 81, S01 i 0 0iin treble damages for eachviclation.”




       é. Plainife incorporates By. reférence ai of the abby pings              of this Complaint ass though        :

       sys stated herein with the same force. nd offi asif the fies were set forth at lengthen.

       &     This iis: ann dtion for wit violation: of the Textss Debt: Collegtionn Act, Tex, Fin. Code: ‘

it] ad § 392 erseg,
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       @: séstion §302: 302(4) states a deh collector maf not oppress, hss, OF abuse a'person by

     } causing a telephone to ing: repeated        or continuously, of ‘naling. repeated or. continuous

      telephone calls, with the infent to harass. a person. at the called nufiber. he

 3    0.    Defendant violated Section $392. 30         with i volume of calls.

      en    Fof he aforementioned 1 ; ons,

 : Ko      “Plainsitt fedls death     1

     collar landline nd wielk telephones. , Co              ERE
      B. "For: these Hilson, the Defendant is liable to the Plaintiff for actual damages, sisbuiony

      damages, costs, Ew, reasonable attoriey’ 'S fees’
Case 3:22-cv-00730-K Document 1-1 Filed 03/30/22                                  Page 15 of 52 PageID 20




        WRBSEigR Plait demands Hgts fiom Defondunt as follows:

        1.   Award: Plaintiff Sst, damages of at least. $500: 00 per: hte: call/text
             message and tle damages tsps | to 47 U. 8. C. §§ 227(b)3)B)&(C);

       2     Award. Plaintiff Statutory damages not. fess than $100 under the TDCA;

     "3      Award Plant abtudl damages under the TOCA;

       4.    Award    Plaintiff] costs         of   this     action,   itinding   ‘reasonable
             attorneys’ fees:             eupasss under TDCA; and            |

       5.    Award Plaintiff such other and further reli                 as
                                                                         a this Court may deem just
             and proper.      !
                            .   |
                                     i


   DATED: February 8,2022             |      EE                   Respectfully Submitted,


                                    |"                     JAFFER & ASSOCIATES
                                                                            PLLC
                                                             is Allen Robertson :3
                                                           "Allen Robertson ©
                                                             Texas Bar No. 24076655
                                                             Shawn Jaffer
                                                             Texas Bar, No. 24107817

                                                            : Texas Bar No.. 24086466
                                                           - Robert’ Leach         ’
                                                              Texas Bar No.24103582
                                                         ‘1585 1 Dallas Pkwy’ Ste 600         -
                                                       © Addison, TX 75001 ©
                                                            Phone: 214-494-1871
                                                             “Fax: 888-509-3910 }
                                                              E-mail: attorneys@jaffer. law

                                                             ATTORNEYS FOR PLAINTIFF
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                    EXHIBIT “B-2”
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                    EXHIBIT “B-3”
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   Stato of Texas                                                                       County of Dallas                                                             JP2-2 Court

   Case Number: J822-00041E
   Kimberly M, Shelton,

  Defendant:
  Citibank, NA.
   For: Shawn Jaffer Law Firm, PLLC

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                                      NO. JS-2200041E

KIMBERLY M. SHELTON,                           §                      IN THE JUSTICE COURT
     Plaintiff,                                §
                                               §
v.                                             §                          PRECINCT 2 PLACE 2
                                               §
CITIBANK, N.A.,                                §
      Defendant.                               §                   DALLAS COUNTY, TEXAS


                  DEFENDANT CITIBANK, N.A.’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       Subject to and without waiver of its rights to removal and contractual rights to arbitration,

Defendant Citibank, N.A. (“Defendant” or “Citibank”) files this, its Original Answer, and would

respectfully show this Court as follows:

                                       GENERAL DENIAL

       Without waiver of its rights to arbitration, pursuant to Rule 502.5(b) of the Texas Rules of

Civil Procedure, Defendant Citibank generally denies each and every, all and singular, of the

allegations set forth in Plaintiff’s Original Petition and demands strict proof thereof.

                                 RESERVATION OF RIGHTS

       Citibank does not waive and expressly reserves its contractual rights to compel arbitration,

its rights to removal, any objections or defenses it may have as to improper service, jurisdiction,

or venue, or any other defenses or objections to this action. Citibank intends no admission of fact,

law, or liability by this Original Answer, and reserves all defenses, motions, and pleas.

                        DEFENSES AND AFFIRMATIVE DEFENSES

       Subject to the foregoing General Denial and Reservation of Rights, including Defendant’s

contractual right to compel arbitration and rights to removal, and without waiving the same,

Defendant Citibank asserts the following affirmative defenses, which, singularly or in


DEFENDANT CITIBANK N.A.’S ORIGINAL ANSWER                                                   Page 1
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combination, bar Plaintiff’s right to recover from Defendant Citibank, in whole or in part, the

damages and relief sought in Plaintiff’s Petition. To the extent that such affirmative defenses are

inconsistent, they are pleaded in the alternative. Defendant asserts the following affirmative

defenses:

       1.      Plaintiff’s claims are barred, in whole or in part, as the matters raised in Plaintiff’s

Original Petition may be subject to mandatory arbitration.

       2.      Plaintiff’s claims are barred, in whole or in part, for failure to state a claim upon

which relief may be granted.

       3.      Plaintiff’s claims are barred, in whole or in part, because Plaintiff has not suffered

any actual damages.

       4.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of set-off.

       5.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean hands.

       6.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of estoppel.

       7.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of consent. By her

own conduct, acts, omissions, contractual promises, and agreements Plaintiff consented to and

acquiesced in Defendant’s conduct, including by providing express consent to be contacted by

Defendant at the telephone number provided by Plaintiff. Furthermore, Plaintiff, and/or another

customary user of the phone who can bind Plaintiff, consented to receive any telephone calls which

allegedly were made and any purported revocation of consent was ineffective as a matter of fact

and law.

       8.      Plaintiff’s claims are barred, in whole or in part, by Plaintiff’s failure to mitigate

damages, if any.




DEFENDANT CITIBANK N.A.’S ORIGINAL ANSWER                                                        Page 2
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        9.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of unjust

enrichment.

        10.     Plaintiff’s claims are barred, in whole or in part, by the doctrine of assumption of

risk.

        11.     Plaintiff’s claims are barred, in whole or in part, by the doctrine of justification.

        12.     Plaintiff’s claims are barred, in whole or in part, by the doctrine of ratification.

        13.     Plaintiff’s claims are barred, in whole or in part, by the doctrine of contributory

negligence.

        14.     Plaintiff’s claims are barred, in whole or in part, by the doctrine of waiver.

        15.     Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches.

        16.     Plaintiff’s claims are barred, in whole or in part, by the plain terms of the applicable

contract(s).

        17.     Plaintiff’s claims are barred, in whole or in part, because Plaintiff suffered no injury

or actual damages as a result of any act, conduct, or practice of Citibank.

        18.     Plaintiff’s claims are barred, in whole or in part, to the extent they are based on law

other than the governing law contained in the parties’ credit card agreement.

        19.     Citibank alleges that it has appropriately, completely, and fully performed and

discharged any and all obligations and legal duties, if any, arising out of the matters alleged in

Plaintiff’s Original Petition.

        20.     At all relevant times, Citibank acted in good faith in its dealings, if any, with

Plaintiff. As such, it would be inequitable to award Plaintiff damages in any amount.

        21.     Plaintiff’s Original Petition, and each claim and cause of action set forth therein,

are barred, in whole or in part, on the grounds that Citibank is entitled to an offset or setoff of any



DEFENDANT CITIBANK N.A.’S ORIGINAL ANSWER                                                        Page 3
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damages claimed by Plaintiff based on the amounts owed on Plaintiff’s account(s) and/or based

on Plaintiff’s breach of the parties’ agreement(s).

       22.     Plaintiff’s claims are barred, in whole or in part, because any damage, injury and/or

harm sustained by Plaintiff was the direct and proximate result of the independent, intervening,

negligent, criminal, and/or unlawful conduct of independent third parties or their agents, and not

any act or omission on the part of Citibank.

       23.     Plaintiff’s claims are barred, in whole or in part, because all actions taken by

Citibank were reasonable in time and scope.

       24.     Plaintiff’s claims are barred, in whole or in part, because Citibank substantially

complied with all applicable statutory requirements, and the doctrine of substantial compliance

bars the recovery the Plaintiff seeks.

       25.     Plaintiff’s Original Petition does not allege facts sufficient to rise to the level of

conduct required to recover punitive damages, and thus all requests for punitive damages are

improper.

       26.     Plaintiff’s claims are barred, in whole or in part, under the economic loss rule. The

economic loss rule bars tort claims for the recovery of economic losses when the loss is the subject

matter of a contract.

       27.     Plaintiff’s claims are barred, in whole or in part, because Plaintiff’s alleged injuries

are not traceable to the allegedly violative conduct.

       28.     Plaintiff’s TCPA claims are barred, in whole or in part, under the First Amendment

of the United States Constitution.

       29.     Plaintiff’s damages claim under the TCPA is barred, in whole or in part, due to an

absence of any actual damages. Hence, any statutory damages are an excessive fine and violate



DEFENDANT CITIBANK N.A.’S ORIGINAL ANSWER                                                      Page 4
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Defendant’s rights under the Due Process and Takings Clauses of the United States Constitution

and/or applicable state constitutions.

        30.     Defendant’s telephone lacks the present capacity to generate random or sequential

telephone numbers to dial those numbers.

        31.     The Petition, and each claim and cause of action set forth therein, is barred, in whole

or in part, on the grounds that Plaintiff seeks damages that are too speculative to permit recovery.

        32.     Any state law claims that are subsumed within a federal law of the same subject

matter are preempted by federal law.

        33.     Citibank reserves the right to amend and supplement its affirmative defenses to

include any applicable defense of law or fact.

                                         SERVICE BY EMAIL

        Pursuant to Texas Rule of Civil Procedure 502.5(a)(3), Defendant consents to receive

documents related to this case by email at the email addresses: meagan@martinpowers.com,

katie@martinpowers.com, angelita@martinpowers.com, and paralegals@martinpowers.com. Plaintiff

is directed to send all documents for service to all four email addresses listed, which are Defendant’s

counsel and paralegal.

                                              PRAYER

        WHEREFORE, PREMISES CONSIDERED, subject to and without waiving its rights to

removal and its contractual rights to compel arbitration, Defendant Citibank requests that Plaintiff

take nothing by her claims; all costs be assessed against Plaintiff, and that Defendant Citibank be

granted such other and further relief, at law or in equity, to which Defendant Citibank may prove

to be justly entitled.

        DATE: March 15, 2022




DEFENDANT CITIBANK N.A.’S ORIGINAL ANSWER                                                      Page 5
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                                              Respectfully submitted,

                                              /s/ Meagan Martin Powers
                                              Meagan Martin Powers
                                              State Bar No. 24050997
                                              Katherine M. Anand
                                              State Bar No. 24050223
                                              M. Angelita Delgadillo
                                              State Bar No. 24072507
                                              MARTIN POWERS & COUNSEL, PLLC
                                              600 E. John Carpenter Fwy, Suite 234
                                              Irving, Texas 75062
                                              Telephone: (214) 612-6474
                                              Facsimile: (214) 247-1155
                                              meagan@martinpowers.com
                                              katie@martinpowers.com
                                              angelita@martinpowers.com

                                              COUNSEL FOR DEFENDANT
                                              CITIBANK, N.A.



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 15th day of March 2022, a true and correct copy of the
forgoing document was served on all parties and counsel of record thru the Court’s electronic filing
system.

                                                     /s/ M. Angelita Delgadillo
                                                     M. Angelita Delgadillo




DEFENDANT CITIBANK N.A.’S ORIGINAL ANSWER                                                   Page 6
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Paralegal Martin Powers on behalf of Meagan Powers
Bar No. 24050997
paralegals@martinpowers.com
Envelope ID: 62629439
Status as of 3/15/2022 3:57 PM CST

Associated Case Party: KimberlyMShelton

Name              BarNumber   Email                  TimestampSubmitted Status

Allen Robertson               attorneys@jaffer.law   3/15/2022 3:03:53 PM   SENT

Shawn Jaffer      24107817    shawn@jaffer.law       3/15/2022 3:03:53 PM   SENT
Case 3:22-cv-00730-K Document 1-1 Filed 03/30/22   Page 50 of 52 PageID 55




                      EXHIBIT “C”
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

  KIMBERLY M. SHELTON,                           §
                                                 §
                       Plaintiff,                §
  v.                                             §        CIVIL ACTION NO. 3:22-cv-00730
                                                 §
  CITIBANK, N.A.                                 §
                                                 §
                       Defendant.                §


              DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS

       Pursuant to Federal Rule of Civil Procedure 7.1 and this Court’s Local Rules 3.1(c), 7.4,

and 81.1(a)(4)(D), Defendant Citibank, N.A. provides the following information:

       (1)   Identify any parent corporation and any publicly held corporation owning

             10% or more of its stock:

              (a)     Citibank, N.A., is a national bank located in Sioux Falls, South Dakota.

              (b)     Citigroup, Inc., a publicly-traded corporation, is the parent corporation

                      of Citibank, N.A.

       (2)   A complete list of all persons, associations of persons, firms, partnerships,

             corporations,    guarantors,    insurers,   affiliates,   parent   or   subsidiary

             corporations, or other legal entities that are financially interested in the

             outcome of the case.

                (a)    Plaintiff Kimberly M. Shelton

                (b)    Defendant Citibank, N.A.

                (c)    Citigroup Inc.




DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS                                                     Page 1
  Case 3:22-cv-00730-K Document 1-1 Filed 03/30/22              Page 52 of 52 PageID 57



DATE: March 30, 2022

                                           Respectfully submitted,

                                           /s/ Meagan Martin Powers______
                                           Meagan Martin Powers
                                           State Bar No. 24050997
                                           Katherine M. Anand
                                           State Bar No. 24050223
                                           M. Angelita Delgadillo
                                           State Bar No. 24072507
                                           MARTIN POWERS & COUNSEL, PLLC
                                           600 E. John Carpenter Freeway, Suite 234
                                           Irving, Texas 75062
                                           Telephone: (214) 612-6474
                                           Facsimile: (214) 247-1155
                                           meagan@martinpowers.com
                                           katie@martinpowers.com
                                           angelita@martinpowers.com

                                           COUNSEL FOR DEFENDANT
                                           CITIBANK, N.A.


                               CERTIFICATE OF SERVICE

        I hereby certify that on this the 30th day of March 2022, a true and correct copy of
Defendant’s Certificate of Interested Persons was served on Plaintiff in the State Court Action
thru the Court’s electronic filing system.


                                                   /s/ M. Angelita Delgadillo
                                                   M. Angelita Delgadillo




DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS                                           Page 2
